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  JOHN-ANDERSON L. MEYER 8541
  G. KIKAHA CHEE        11455

  DENTONS US LLP
  1001 Bishop Street, Suite 1800
  Honolulu, HI 96813
  Telephone: 808 524-1800
  Facsimile: 808 524-4591
  Email: anderson.meyer@dentons.com
         kikaha.chee@dentons.com

  Attorneys for Defendant
  LONGS DRUG STORES CALIFORNIA, L.L.C.

                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAI`I

  JOHN KAIWI and JAZLYN KAIWI,              Case No. 1:21-cv-00466-DKW-KJM
                       Plaintiffs,
                                            STIPULATION FOR DISMISSAL
          vs.                               WITH PREJUDICE AS TO ALL
                                            CLAIMS AND PARTIES AND
  LONGS DRUG STORES
                                            ORDER
  CALIFORNIA, L.L.C. and DOE
  DEFENDANTS 1-100,

                       Defendants.




                                            Judge: Hon. Judge Derrick K. Watson




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                STIPULATION FOR DISMISSAL WITH PREJUDICE
                      AS TO ALL CLAIMS AND PARTIES

         IT IS HEREBY STIPULATED pursuant to Rule 41(a)(1)(A)(ii) of the

 Federal Rules of Civil Procedure, by and between the parties hereto, through their

 respective counsel, that this action be and is hereby dismissed with prejudice. All

 claims and parties are dismissed. Each party shall bear their own costs and

 attorneys’ fees. No other claims, parties, or issues remain in this action. All

 parties who have appeared in this action have signed this Stipulation.

         DATED: Honolulu, Hawai`i, November 28, 2022.

  /s/ David K. Ahuna                                       /s/ John-Anderson L. Meyer
  JOSEPH P.H. AHUNA, JR.                                   JOHN-ANDERSON L. MEYER
  DAVID K. AHUNA                                           G. KIKAHA CHEE

  Attorneys for Plaintiffs                                 Attorneys for Defendant
  JOHN KAIWI and JAZLYN KAIWI                              LONGS DRUGS STORES
                                                           CALIFORNIA, L.L.C.


 APPROVED AND SO ORDERED:

         DATED: November 28, 2022 at Honolulu, Hawai’i.


                                             /s/ Derrick K. Watson
                                            _______________________________
                                            Derrick K. Watson
                                            Chief United States District Judge

 ____________________________________________________________________________
 John Kaiwi, et al. v. Longs Drug Stores California, L.L.C., et al.; United States District Court, District of
 Hawai`i; Case No. 1:21-cv-00466-DKW-KJM; STIPULATION FOR DISMISSAL WITH
 PREJUDICE AS TO ALL CLAIMS AND PARTIES AND ORDER


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